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Exhibit L
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
AMERICAN GENERAL LIFE INSURANCE
COMPANY,
Plaintiff,
vs. Case No. 8:15-cv-00192-EAK-AEP

KEVIN H. BECHTEL and LIFE BROKERAGE
PARTNERS, LLC

Defendants.

/

Affidavit of Kevin H. Bechtel

BEFORE ME, the undersigned authority, personally appeared Kevin H. Bechtel,
who, being duly sworn, deposes and says:

1. I am over the age of majority, have firsthand knowledge of the facts set
forth in this affidavit, and know the facts to be true and correct based upon information
known by me or based upon information obtained from business records of Life
Brokerage Partners, LLC (“LBP”) and Life Brokerage Equity Group, Inc. ("LBEG").

2. LBEG was a Florida corporation formed pursuant to Florida law on or
about January 3, 2000. At the time of signing the paper titled "Agency Agreement”
referenced in Plaintiff's Amended Complaint as Exhibit A, J was employed by LBEG as
its vice president.

3. LBP was a limited liability company formed under Florida law on or about
January 30, 2007. At the time of the issuance of the Policies at issue in this case, I was
employed by LBP as its chief executive officer.

4, The alleged 2003 “Agency Agreement” referenced in American General
Life Insurance Company's (“American General”) Amended Complaint was signed by me
on behalf of LBEG in 2003. I did not sign the "Agency Agreement" in my individual
capacity.
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5. The Tax Identification Number for Life Brokerage Equity Group, LLC is
XX-XXXXXXX, which is the Tax Identification Number identified on the “Agency
Agreement” referenced in American General’s Complaint.

6. On or about February 24, 2003 I signed an Assignment of Contract,
assigning any and all duties, obligations and rights I may have with any contract with
American General to LBEG. This assignment was done with American General’s
permission.

7. The alleged 2007 “Agency Agreement” is between LBP and American
General.

8. Prior to executing the 2007 “Agency Agreement” I was not aware that
there were “specimen” terms and conditions that went along with the “Agency
Agreement.”

9, I was not aware that “specimen” terms and conditions to the 2007 Agency
Agreement were available on the American General website.

10. I was never informed by American General that the “specimen” terms and
conditions to the 2007 Agency Agreement were available on its website.

11. At the time LBP executed the 2007 Agency Agreement it was not an
Independent Marketing Organization (“IMO”).

12. I reviewed the LBP contracting file with American General for the 2007
Agency Agreement and there are no terms and conditions contained within the
contracting file.

13. Through the date of this affidavit, American General has never presented
LBP with a fully executed 2007 Agency Agreement.

14. On or about September 30, 2008, I along with five (5) other
persons/entities entered into an agreement that divested me of any interest in one of the
companies (Broker Dealer Services, not a party to this lawsuit), terminated a previous
agreement between LBP and one of the companies (Cardinal Marketing Group, also not a
party to this lawsuit) and to ensure that the revenue generated by LBEG was maintained.

15. | The September 2008 Agreement was not intended to benefit any parties
that were not parties to the September 2008 Agreement.

16. American General was not a party to the September 2008 Agreement, the
September 2008 Agreement was not intended in any way to benefit American General
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and the September 2008 Agreement did not modify or void the 2003 Assignment of
Contract entered into between LBEG and myself.

17. The September 2008 Agreement was entered into over a year after the life
insurance policies in this case were issued and after $1,053,332.00 in premium was paid
to American General on the life insurance policies.

18. A majority of the commissions paid by American General on the two life
insurance policies were paid by American General prior to the September 30, 2008
Agreement.

FURTHER AFFIANT SAYETH NAUGHT.

STATE OF FLORIDA

COUNTY OF HILLSBOROUGH

fe

KEVIN H. BECHTEL

The foregoing Affidavit was sworn to and subscribed before me on this 2"! day of
May, 2017 by Kevin H. Bechtel, in his personal capacity and as the former CEO of Life
Brokerage Partners, LLC, and as the former VP of Life Brokerage Partners, LLC and iW
who is personally known to me or [ ] who produced as
identification.

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